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                     UNITED STATES COURT OF INTERNATIONAL TRADE



CYBER POWER SYSTEMS (USA) INC.,

                              Plaintiff,
                                                       Before: Leo M. Gordon, Judge
                v.

UNITED STATES,                                         Court No. 20-00124

                              Defendant.



                                           ORDER

        Upon consideration of Defendant’s motion in limine to exclude affirmations as

evidence at trial, ECF No. 115, Plaintiff’s response thereto, ECF No. 121, and all other

papers and proceedings had in this action; and upon due deliberation, it is hereby

        ORDERED that Defendant’s motion is granted in part; it is further

        ORDERED that Plaintiff’s Exhibit 81 (Klein Affirmation) is excluded from evidence

at trial; and it is further

        ORDERED that Defendant’s motion regarding Plaintiff’s Exhibits 82, 83, 84, 85,

86, 87, 88, 89, and 90 is denied as moot.




                                                                /s/ Leo M. Gordon
                                                             Judge Leo M. Gordon




Dated: August 4, 2022
       New York, New York
